                  3:18-cv-03134-JMC                    Date Filed 11/20/18              Entry Number 6               Page 1 of 1

AO 120 (Rev. 08/10)

                             Mail Stop 8                                                       REPORT ON THE
TO:
          Director of the U.S. Patent and Trademark Office                             FILING OR DETERMINATION OF AN
                            P.O. Box 1450                                              ACTION REGARDING A PATENT OR
                     Alexandria, VA 22313-1450                                                   TRADEMARK

                  In Compliance with 35 U.S.C. § 290 and/or 15 U.S.C. § 1116 you are hereby advised that a court action has been
          filed in the U.S. District Court      for the District of South Carolina (Columbia Division)                  on the following
       ✔ Trademarks or
       G                      G Patents.    (   G   the patent action involves 35 U.S.C. § 292.):

DOCKET NO.                        DATE FILED                        U.S. DISTRICT COURT
      3:18-03134-JMC                       11/19/2018                        for the District of South Carolina (Columbia Division)
PLAINTIFF                                                                    DEFENDANT
 Epson America, Inc.                                                           Curtis International Ltd.



        PATENT OR                      DATE OF PATENT
                                                                                        HOLDER OF PATENT OR TRADEMARK
      TRADEMARK NO.                    OR TRADEMARK
1 not provided                                                         not provided

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                                In the above—entitled case, the following patent(s)/ trademark(s) have been included:
DATE INCLUDED                     INCLUDED BY
                                                         G
                                                     Amendment                  G   Answer          G   Cross Bill     G   Other Pleading
        PATENT OR                      DATE OF PATENT
                                                                                        HOLDER OF PATENT OR TRADEMARK
      TRADEMARK NO.                    OR TRADEMARK
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                      In the above—entitled case, the following decision has been rendered or judgement issued:
DECISION/JUDGEMENT




CLERK                                                        (BY) DEPUTY CLERK                                          DATE
        5RELQ/%OXPH                                         s/Angie Snipes                                                  11/20/2018

Copy 1—Upon initiation of action, mail this copy to Director Copy 3—Upon termination of action, mail this copy to Director
Copy 2—Upon filing document adding patent(s), mail this copy to Director Copy 4—Case file copy
